             IN THE COURT OF APPEALS OF NORTH CAROLINA

                                 No. COA18-840

                              Filed: 18 August 2020

New Hanover County, No. 15 CVS 1730

MARVIN N. MCFADYEN, Plaintiff,

            v.

NEW HANOVER COUNTY; NEW HANOVER COUNTY BOARD OF ELECTIONS;
NORTH CAROLINA STATE BOARD OF ELECTIONS; JOSHUA B. HOWARD, in
his official capacity; RHONDA K. AMOROSO, in her official capacity; JOSHUA D.
MALCOLM, in his official capacity; PAUL J. FOLEY, in his official capacity; and
MAJA KRICKER, in her official capacity, Defendants.


      Appeal by Plaintiff from order entered 29 March 2018 by Judge Charles H.

Henry and from orders entered 12 April 2018 and 26 April 2018 by Judge Joshua W.

Willey, Jr. in New Hanover County Superior Court. Heard in the Court of Appeals

14 March 2019.


      Shipman &amp; Wright, L.L.P., by W. Cory Reiss, for plaintiff-appellant.

      Sumrell Sugg, P.A., by Scott C. Hart, for defendant-appellee New Hanover
      County.

      Knott and Boyle, PLLC, by W. Ellis Boyle, for defendant-appellee New Hanover
      County Board of Elections.

      Attorney General Joshua H. Stein, by Deputy Solicitor General Ryan Y. Park,
      Special Deputy Attorney General James Bernier, Jr., and Solicitor General
      Fellow Matt Burke, for the State defendants-appellees.


      MURPHY, Judge.
                        MCFADYEN V. NEW HANOVER CNTY., ET AL.

                                       Opinion of the Court



       N.C.G.S. § 163-22(l) requires that any appeal from the State Board of Elections

(“SBE”) be filed in the Superior Court of Wake County. Failure to comply with this

statutory requirement deprives any other court of jurisdiction to hear the dispute.

Where a court lacks jurisdiction over a case, any action made by the court related to

that case is void ab initio and a nullity, leaving any appeal based on the court’s void

actions moot.      Here, Marvin McFadyen (“McFadyen”), appealed his purported

termination as a county director of elections (“county director”) by the SBE in the

Superior Court of New Hanover County, in contravention of N.C.G.S. § 163-22(l). As

a result, the Superior Court of New Hanover County was without jurisdiction, and all

of its actions related to the case are void and vacated, rendering McFadyen’s appeal

moot. We dismiss without prejudice to Defendant’s ability to refile in the Superior

Court of Wake County.

                                       BACKGROUND

       Plaintiff, McFadyen, was nominated and appointed as County Director of the

New Hanover County Board of Elections (“NHCBE”) in 2011. The procedures for

appointing a county director were established under N.C.G.S. § 163-35 (2014).1 The

General Assembly created a three-step process across three entities for appointing

and supervising a county director. First, the county board of elections nominates an

eligible individual for the county director position and submits that nomination to the



1 For all relevant times described herein, the statute was N.C.G.S. § 163-35. N.C.G.S. § 163-35 has
since been updated and recodified at N.C.G.S. §§ 163A-774-775.
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Executive Director of the SBE. Second, the Executive Director issues a letter of

appointment. Third, once the new county director is appointed, the county board of

elections determines the county director’s responsibilities and delegated authority.

The county director is then compensated by the county through its Board of County

Commissioners. Id.

      The origins of McFadyen’s purported termination began “[i]n the wake of a

political shift that occurred in the 2012 elections . . . .” A new governor appointed

new members to the SBE who then appointed John Ferrante (“Ferrante”) as

Chairman of NHCBE in July 2013. McFadyen claims that Ferrante “immediately

expressed his personal dislike for” McFadyen and was “openly critical of and

condescending toward” him, “including in front of employees whom . . . McFadyen

was to oversee and direct . . . .” As a result, McFadyen further alleges that, despite

not having received performance evaluations from NHCBE, as was “past practice,”

NHCBE conducted closed-door interviews with other employees to discuss him and

evaluate his performance.

      Further, unless marked “confidential,” New Hanover County had a policy of

automatically making emails to and from county department heads available to the

public. During the November 2014 election, military ballots and voter registration

applications that were emailed to McFadyen’s NHCBE email address were released

to the public. These emails should not have been released. McFadyen claims he was

unaware “that the county followed an unwritten or informal policy making all

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inbound emails to department heads available to the public without a public records

request unless they were labeled ‘confidential’ or otherwise marked for non-

dissemination.”

      After this incident, NHCBE held a closed session regarding McFadyen’s

employment. Ferrante gave McFadyen the option of resigning and advised him that,

if he refused, then NHCBE would begin formal termination proceedings.

      To terminate a county director, “the county board of elections may, by petition

signed by a majority of the board, recommend to the Executive Director of the [SBE]

the termination of the employment of the [county director].” N.C.G.S. §163-35(b)

(2014). After receiving the petition, the Executive Director forwards a copy of the

petition to the county director facing termination, who may then reply to the petition.

Id. Finally, upon receiving the county director’s reply or the expiration of a set time

period,

             the State Executive Director [of the SBE] shall render a
             decision as to the termination or retention of the [county
             director]. The decision of the Executive Director of the
             [SBE] shall be final unless the decision is, within 20 days
             from the official date on which it was made, deferred by the
             [SBE]. If the [SBE] defers the decision, then the [SBE]
             shall make a final decision on the termination after giving
             the [county director] an opportunity to be heard and to
             present witnesses and information to the [SBE], and then
             notify the Executive Director of its decision in writing.




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                                         Opinion of the Court



Id. As a link in this termination chain, the State Executive Director of the SBE2 has

the initial decision of whether to fire the county director. Id. This statute did not

contemplate what to do if this link is broken, such as when the Executive Director

recuses herself due to a conflict of interest and fails to “render a decision as to the

termination or retention of the [county director].” Id.

        This termination process began after McFadyen declined Ferrante’s

ultimatum. The NHCBE voted 2-1 to submit a petition to the SBE recommending

that McFadyen be terminated from his position as County Director of the NHCBE.

In its petition, NHCBE alleged cause for termination based on various reasons

including that McFadyen’s employment “create[d] substantial and unacceptable risk

of liability” for “Employment Practices Liability, the area of law dealing with, sexual

harassment; retaliation; discrimination based on sex, race/color or disability; abuse

and intimidation, and infliction of emotional distress”; that McFadyen “knowingly

failed to meet his duty to safeguard and protect . . . Confidential Voter Information”;

and that McFadyen “intended either to deflect responsibility or to mislead the

[NHCBE]” about how the Confidential Voter Information was released to the public.

        At the time the SBE received the petition recommending termination,

Kimberly Strach (“Strach”) was the Executive Director of the SBE. She informed the


2“[T]he [SBE] shall appoint an Executive Director [of the SBE] for a term of four years . . . [who] shall
serve, unless removed for cause, until his successor is appointed. Such Executive Director shall be
responsible for staffing, administration, execution of the [SBE]’s decisions and orders and shall
perform such other responsibilities as may be assigned by the [SBE]. In the event of a vacancy, the
vacancy shall be filled for the remainder of the term.” N.C.G.S. § 163-27 (2014).
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SBE Chairman that she had a conflict of interest that prevented her from acting on

the petition. The SBE Chairman sanctioned Strach’s recusal, but the statute did not

address how to proceed with a termination petition when the Executive Director

recuses. In response to this situation and purportedly “to preserve the procedural

approach set out by statute,” the SBE Chairman appointed the Deputy Director of

the SBE, Amy Strange (“Strange”),3 to act in place of the Executive Director to

address the petition for McFadyen’s termination.

       Strange moved to the next link in the termination chain.                      Strange sent

McFadyen a copy of the petition for termination. McFadyen replied to the petition

and denied its allegations. Strange reviewed the petition and McFadyen’s responses

and purported to issue a decision concluding that there were two grounds for

termination. Strange first concluded that McFadyen “fail[ed] to follow State and

federal laws and county policies” when he failed “to protect confidential voter

information, including voted ballots, from being displayed for public view

constitut[ing] an inexcusable breach of public trust and lead[ing] to a lack of

confidence in the elections process.”          She stated that the “County’s policies and

procedures [timeframe] for safeguarding e-mails with confidential content is at least



3 Strange had been “hired by the [Executive Director],” Strach, to be Deputy Director for Campaign
Finance and Operations. She applied for the job via an advertised position through the State Office of
Human Resources. Strach hired Strange after she interviewed and accepted an offer. Strange’s job
included reviewing accounting transactions for compliance with state laws, approving financial
transactions on behalf of the agency, ensuring compliance with internal review and internal controls
for the SBE, supervising campaign finance staff and operations staff, and serving as a liaison between
various state offices.
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a decade old, and was in place from the first day that Mr. McFadyen was employed

as Elections Director” and that “[i]t would clearly be the responsibility of Mr.

McFadyen to appropriately flag items in his own email folders.” Second, Strange

concluded that McFadyen “provid[ed] false or misleading information regarding a

serious breach of State and federal laws . . . .” Acting as though she was the Executive

Director of the SBE under the statute, Strange purported to grant the petition on 4

February 2015.

      In accordance with his rights under the statute, McFadyen wrote the SBE to

challenge Strange’s purported decision. He argued that “the delegation of duties to

Amy Strange[,]” as a hired employee rather than an appointed member of the SBE,

“does not seem to be within the statutory authority of [N.C.G.S. §] 163-35.” Over two

weeks later, the SBE informed McFadyen that “no deferral will be had and that

[McFadyen] can move forward with whatever subsequent legal action [he and his

counsel] might find appropriate.” The SBE did not have the votes to defer Strange’s

decision and McFadyen’s purported termination was effectively final.

      McFadyen began legal action in New Hanover County Superior Court.

Asserting claims under both state and federal law, McFadyen sued NHCBE, New

Hanover County, and the SBE and its individual members. Defendants jointly filed

a notice of removal to the U.S. District Court for the Eastern District of North

Carolina on the basis of federal question jurisdiction given McFadyen’s claim against

the SBE under 42 U.S.C. § 1983. In that claim, McFadyen alleged that the SBE

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                                       Opinion of the Court



violated his constitutional right to due process during termination proceedings and

sought injunctive relief and attorney fees under 42 U.S.C. § 1988. McFadyen’s federal

claims were dismissed,4 and the District Court declined to exercise supplemental

jurisdiction over remaining state law claims.

       Upon return to the New Hanover County Superior Court, the trial court

dismissed McFadyen’s claims against New Hanover County for unjust enrichment

and conversion.      The remaining claims against each respective Defendant were

disposed of at summary judgment. The trial court entered orders granting summary

judgment in favor of Defendants on all claims. On appeal, McFadyen challenges the

trial court’s orders dismissing and granting summary judgment in favor of

Defendants.

                                          ANALYSIS

       Although McFadyen was a county employee, the county had no legal power to

terminate him; that decision rested solely with the SBE. See N.C.G.S. § 163-35(b)

(2014). There is a statutory procedure for that termination and it expressly identifies

when the SBE’s action becomes a final agency decision. Id. Decisions of the SBE

related to the performance of its duties are subject to judicial review exclusively in




4 The U.S. District Court held: “Because [McFadyen] has not pleaded facts demonstrating that the
SBE [D]efendants can be held responsible for the publication of false charges that allegedly
stigmatized his reputation, [McFadyen’s] § 1983 claim, the second claim, fails to state a claim upon
which relief can be granted. [[McFadyen’s] sixth claim for attorney fees under § 1988 is tied to
[[McFadyen’s] § 1983 claim, and cannot stand alone. Accordingly, it too must be dismissed.” McFadyen
v. New Hanover County, No. 7:15-CV-132-FL, 2016 WL 183486, at *6 (E.D.N.C. Jan. 14, 2016).
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the Superior Court of Wake County.                   See N.C.G.S. § 163-22(l) (2014)

(“Notwithstanding any other provision of law, in order to obtain judicial review of any

decision of the [SBE] rendered in the performance of its duties or in the exercise of

its powers under this Chapter, the person seeking review must file his petition in the

Superior Court of Wake County.”). McFadyen seeks judicial review of a decision

“rendered in the performance of [SBE’s] duties . . . under [Chapter 163]” as this

controversy arises out of the purported termination of McFadyen as a county director.

See N.C.G.S. § 163-35(b) (2014) (“The county board of elections may, by petition

signed by a majority of the board, recommend to the Executive Director of the [SBE]

the termination of the employment of the county board’s director of elections. . . .

[T]he State Executive Director shall render a decision as to the termination or

retention of the county director of elections.”).

      McFadyen could have challenged the SBE’s action by appealing to the Superior

Court of Wake County according to the judicial review process established by law, but

he instead filed his Complaint in New Hanover County. The failure to exhaust the

administrative and judicial review process bars a later collateral attack on the SBE’s

decision. Frazier v. N.C. Cent. Univ., ex rel. Univ. of N.C., 244 N.C. App. 37, 44, 779

S.E.2d 515, 520 (2015). The law does not permit litigants to challenge a state agency

decision by bypassing judicial review and suing the administrative agency and third

parties whose actions “happen to stem from decisions of an administrative agency.”

Vanwijk v. Prof’l Nursing Servs., Inc., 213 N.C. App. 407, 410, 713 S.E.2d 766, 768

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(2011). McFadyen’s failure to properly appeal through the judicial review process

established by statute means the Superior Court of New Hanover County lacked

jurisdiction to hear the matter.

      McFadyen argues that, under Nanny’s Korner Day Care Ctr., Inc. v. N.C.

DHHS, 264 N.C. App. 71, 825 S.E.2d 34, app. dism., rev. denied, 831 S.E.2d 89 (2019)

(Nanny’s Korner II), he was not required to exhaust administrative remedies before

filing this action. We disagree.

      “When the General Assembly provides an effective administrative remedy by

statute, that remedy is exclusive and the party must pursue and exhaust it before

resorting to the courts.” Jackson ex rel. v. N.C. Dept. of Human Res. Div. of Mental

Health, Developmental Disabilities, &amp; Substance Abuse Servs., 131 N.C. App. 179,

186, 505 S.E.2d 899, 903-04 (1998). “Nevertheless, the exhaustion of administrative

remedies doctrine is inapplicable when the remedies sought are not considered in the

administrative proceeding.” Nanny’s Korner II, 264 N.C. App. at 78, 825 S.E.2d at

40. “Under those circumstances, ‘the administrative remedy will not bar a claimant

from pursuing an adequate remedy in civil court.’” Id. (quoting Johnson v. First

Union Corp., 128 N.C. App. 450, 456, 496 S.E.2d 1, 5 (1998).

      In Nanny's Korner Care Ctr. v. N.C. DHHS - Div. of Child Dev., 234 N.C. App.

51, 758 S.E.2d 423 (2014) (Nanny’s Korner I), the petitioner appealed a superior court

order affirming the final agency decision of the respondent North Carolina

Department of Health and Human Services (“DHHS”), in which DHHS issued a

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written warning to the petitioner’s child care center and prohibited the petitioner’s

husband from being on the child care center’s premises while children were on site.

The petitioner contended that the superior court erred in concluding that DHHS

could rely on a substantiation of abuse made by a local Department of Social Services

(“DSS”), instead of conducting its own independent investigation, to invoke its

disciplinary authority under N.C.G.S. § 110-105.2(b). Id. at 57, 758 S.E.2d at 427.

We vacated the trial court’s order and remanded the matter to the trial court for

further remand to DHHS with instructions to conduct an independent investigation

to determine whether there was substantial evidence of abuse and for any needed

additional administrative action in accordance with the statute. Id. at 64-65, 758

S.E.2d at 431.

      The childcare center then filed an action in superior court, alleging a violation

of its due process rights under Article 1, Section 19 of the North Carolina

Constitution, and seeking monetary damages. Nanny’s Korner II, 264 N.C. App. at

75, 825 S.E.2d at 38. The action was dismissed because it fell outside the three-year

statute of limitations for constitutional claims. Id. at 76, 825 S.E.2d at 38-39. On

appeal, the plaintiff contended the exhaustion of administrative remedies doctrine

required the plaintiff to exhaust its remedies through the claim under the NCAPA

before the plaintiff’s right to bring a constitutional claim arose. Id. at 78, 825 S.E.2d

at 40. We disagreed, holding the statute of limitations was not tolled while the

petitioner pursued administrative remedies in Nanny's Korner I because monetary

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                                     Opinion of the Court



damages were not a remedy available through the NCAPA in that action. Id. at 79,

825 S.E.2d at 40.

       Here, McFadyen alleges he “has suffered damages stemming from his loss of

employment, lost wages, lost opportunities, and stigmatized reputation.” Unlike in

Nanny’s Korner I, remedies for those damages–including a hearing, reinstatement to

his position, and back pay–are available in an administrative proceeding under the

NCAPA in this case. McFadyen’s argument thus lacks merit.

       “An order is void ab initio only when it is issued by a court that does not have

jurisdiction.    Such an order is a nullity and may be attacked either directly or

collaterally, or may simply be ignored.” State v. Sams, 317 N.C. 230, 235, 345 S.E.2d

179, 182 (1986). “[A] void judgment ‘is in legal effect no judgment,’ as ‘[i]t neither

binds nor bars any one, and all proceedings founded upon it are worthless.’” Boseman

v. Jarrell, 364 N.C. 537, 557, 704 S.E.2d 494, 507 (2010) (quoting Hart v. Thomasville

Motors, Inc., 244 N.C. 84, 90, 92 S.E.2d 673, 678 (1956)). The trial court’s orders in

this case were issued without jurisdiction where under N.C.G.S. § 163-22(l) only the

Superior Court of Wake County had jurisdiction to hear the matter; therefore, the

orders are void and without legal effect.

                If there be a defect, e. g., a total want of jurisdiction
                apparent upon the face of the proceedings, the court will of
                its own motion, stay, quash, or dismiss the suit. This is
                necessary to prevent the court from being forced into an act
                of usurpation, and compelled to give a void judgment . . .
                so, (out of necessity) the court may, on plea, suggestion,


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             motion, or ex mero motu, where the defect of jurisdiction is
             apparent, stop the proceedings.

Stroupe v. Stroupe, 301 N.C. 656, 661, 273 S.E.2d 434, 438 (1981) (citing Lewis v.

Harris, 238 N.C. 642, 646, 78 S.E.2d 715, 717-18 (1953)) (internal marks omitted).

We vacate the orders of the trial court due to the trial court lacking jurisdiction over

this dispute. Since the underlying orders are vacated, we dismiss this appeal.

                                   CONCLUSION

      N.C.G.S. § 163-22(l) requires any appeal taken from a decision of the SBE to

be filed in the Superior Court of Wake County. McFadyen’s failure to comply with

this statutory requirement means the Superior Court of New Hanover County, where

McFadyen filed his appeal, was without jurisdiction. The trial court’s orders were

void ab initio because the trial court did not have jurisdiction over the dispute;

therefore, we vacate the trial court’s orders in this case and dismiss this appeal.

      VACATED AND DISMISSED.

      Judge COLLINS concurs.

      Judge DIETZ concurring with separate opinion.




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No. COA18-840 – McFadyen v. New Hanover Cty.


      DIETZ, Judge, concurring.


      There is a lot going on in this case, all of which can be traced back to the

General Assembly’s failure to anticipate a conflict of interest by the director of the

State Board of Elections. The legislature later amended the statute and inserted a

fix. But that fix does not answer all the messy questions about whether the State

Board, in this case, complied with the statute that existed at the time. One thing is

certain, however—these are questions of statutory law, not contract law.

      McFadyen was terminated by the State Board of Elections through a statutory

termination process. That decision unquestionably was a “dispute between an agency

and another person that involves the person’s rights, duties, or privileges” and thus

is subject to the Administrative Procedure Act. N.C. Gen. Stat. § 150B-22(a). The

General Assembly can exempt agency decisions from APA review and, indeed, it has

done so with some decisions of the State Board of Elections. See id. § 150B-1(c)(6)

(repealed 2018).

      But not this one. Moreover, the statute governing termination of a county

director carefully identifies when, in the various possible outcomes, the decision of

the State Board becomes a “final” agency decision. Id. § 163-35(b). That language has

special meaning in the APA context and the General Assembly’s use of that particular

language reinforces that our legislature intended for these decisions to be subject to

APA review. Likewise, the General Assembly provided that “judicial review” of any
                           MCFADYEN V. NEW HANOVER CTY.

                                    DIETZ, J., concurring



decision by the State Board must occur in Wake County Superior Court. Id. § 163-

22(l). As with the reference to a “final” agency decision, the use of the term “judicial

review,” which has a special meaning in the administrative context, suggests that the

General Assembly believed decisions of the State Board were subject to settled

principles of administrative and judicial review.

       McFadyen’s assertion that he can bypass this judicial review process through

a civil breach-of-contract action would throw the State Board’s termination procedure

into chaos by removing the finality that the General Assembly created in the process.

Under McFadyen’s reasoning, if aggrieved county employees subject to this statutory

termination process are unhappy with the agency decision, they need not address the

issue immediately through judicial review. They can wait years—as long as the

statute of limitations for their contract claims provides—and then sue both the State

and the county to litigate the State’s (not the county’s) actions. This sort of litigation,

as this case demonstrates, can stretch on for long after that. The General Assembly

required timely administrative and judicial review of these impactful termination

decisions precisely because they are too important to delay for years, while scheduled

elections continue to take place.

       And there is yet another wrinkle. With statutory law, one cannot argue “no

harm, no foul.” Here, for example, McFadyen reasons that, as a matter of statutory

law, the deputy director of the State Board could not conduct the statutory review



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process because the statute says only the director can do it. Thus, he argues, his

termination was improper because the State Board failed to precisely follow the

requirements of the statute.

       But that is not how contract law works. In contract law, you are not always

entitled to exactly what the contract provides. You are entitled to the benefit of the

bargain. First Union Nat. Bank of N. Carolina v. Naylor, 102 N.C. App. 719, 725, 404

S.E.2d 161, 164 (1991). That is why contract law examines questions such as whether

there has been a material breach, whether there was substantial performance of the

contract’s terms, and so on. See, e.g., Cator v. Cator, 70 N.C. App. 719, 722, 321 S.E.2d

36, 38 (1984).

       In other words, the failure of the State to follow the precise letter of the law

might not equate to a breach of the contract by the county. Here, for example, the

director of the State Board had an obvious conflict of interest—she was once in a

dating relationship with McFadyen that ended badly and there was evidence that

McFadyen threatened to kill her. The deputy director stepped in to eliminate this

conflict.

       What the State Board did is certainly closer to the spirit of the parties’ bargain

than having an official whom McFadyen allegedly harassed and threatened handle

the matter instead. And from there, all the impartial layers of review created by

statute still were present. The members of the State Board had the opportunity to



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review the deputy director’s decision, and McFadyen had the opportunity to challenge

the Board’s final decision through further administrative and judicial review. In

short, even if McFadyen had a common law contract right to be terminated only

through the statutory review process, a violation of that statute would not necessarily

mean there was a breach of contract.

      All of these complications underscore why this isn’t a contract case. The

statutory procedures that govern termination of state employees are complex and

often exceedingly bureaucratic. Our General Assembly created these administrative

procedures and layers of judicial review precisely because that statutory process does

not lend itself to review under traditional, civil breach-of-contract principles in a

separate lawsuit years later.

      Thus, the issues raised in this case should have been pursued through the APA

and ultimately brought before the Wake County Superior Court as a challenge to the

State Board’s final agency decision—not as a civil breach-of-contract case in New

Hanover County Superior Court. Accordingly, the trial court properly dismissed the

contract claims because they are an impermissible attempt to bypass mandatory

judicial review required by statute. That judicial review process also afforded

McFadyen ample due process and an opportunity to rebut the allegations contained

in the petition from the county board of elections. Thus, the trial court properly

dismissed the accompanying due process claims asserted in this action as well.



                                          4
